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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA


LYN MARIE STEVENS                                    )
          Plaintiff,                                 )      Case No.:3:16-cv-481
                                                     )
                v.                                   )
                                                     )
                                                     )
                                                     )
FRANCISCAN ALLIANCE, INC., a/k/a                     )
FRANCISCAN SAINT ANTHONY HEALTH-                     )
MICHIGAN CITY                                        )
          Defendant.                                 )
 

                                  JOINT STIPULATION OF
                                DISMISSAL WITH PREJUDICE

         Plaintiff Lyn Marie Stevens and Defendant Franciscan Alliance, Inc., a/k/a Franciscan

Saint Anthony Health-Michigan City, more properly known as Franciscan Health Michigan City,

by their respective counsel and pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, stipulate and agree to the dismissal of this cause and all claims made in this cause,

with prejudice.

                                Respectfully submitted,


          /s/ Ryan C. Fox                           /s/ Amy J. Adolay
          Ryan C. Fox                               Amy J. Adolay
          Ryan P. Sink                              Matthew C. Branic
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          Attorneys for Plaintiff                   Attorneys for Franciscan St. Anthony
          Lyn Marie Stevens                         Health-Michigan City
 
